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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                      8:17CR262
                      Plaintiff,

       vs.                                                             ORDER

BRANDON CARR,

                      Defendant.


       The defendant, Brandon Carr, has moved to continue the trial (filing no. 73). The motion
to continue is unopposed by counsel for the Government. Based on the showing set forth in the
motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant Brandon Carr's unopposed motion to continue trial (filing no. 73) is
              granted.

       2)     The trial of this case is set to commence before the Honorable John M. Gerrard,
              United States District Judge, in the Special Proceedings Courtroom of the United
              States Courthouse, Omaha, Nebraska, at 9:00 a.m. on December 18, 2017, or
              as soon thereafter as the case may be called, for three days. Jury selection will
              be held at commencement of trial.

       3)     Based upon the showing set forth in the defendant’s motion and the
              representation of counsel, the Court further finds that the ends of justice will be
              served by continuing the trial; and that the purposes served by continuing the trial
              date in this case outweigh the interest of the defendant and the public in a
              speedy trial. Accordingly, the additional time arising as a result of the granting of
              the motion, the time between today’s date, and the anticipated trial, shall be
              deemed excludable time in any computation of time under the requirements of
              the Speedy Trial Act, because despite counsel’s due diligence, additional time is
              needed to adequately prepare this case for trial and failing to grant additional
              time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(1), (h)(6) &
              (h)(7).

       October 23, 2017.

                                                    BY THE COURT:

                                                    s/ Michael D. Nelson
                                                    United States Magistrate Judge
